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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

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      In re:                                          Chapter 11
      LTL MANAGEMENT LLC, 1                           Case No.: 23-12825 (MBK)

                          Debtor.                     Judge: Michael B. Kaplan


                      ORDER CERTIFYING DIRECT APPEAL TO THE
               UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                  The relief set forth on the following pages is hereby ORDERED.



DATED: September 20, 2023
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                This matter comes before the Court pursuant to the Joint Certification to the

 Court of Appeals by all Appellants and Appellees [Dkt. 1310] (the “Joint Certification”), filed by

 LTL Management LLC and the Ad Hoc Committee of Supporting Counsel (together,

 the “Appellants”) and the Appellees 2; the Court having reviewed the Joint Certification; the

 Court finding that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334, and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the

 United States District Court for the District of New Jersey, dated September 18, 2012 (Simandle,

 C.J.); (b) venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409; (c) this is a

 core proceeding pursuant to 28 U.S.C. § 157(b); (d) notice of the Joint Certification was

 sufficient under the circumstances and no further notice is necessary; the Court further finds and

 concludes as follows:

                A.       Notices of appeal [Dkt. 1262, 1306] were filed in the above-captioned

 chapter 11 case by the Appellants from the Memorandum Opinion [Dkt. 1127] and the

 implementing Order (I) Dismissing Debtor’s Chapter 11 Petition Pursuant to 11 U.S.C.

 1121(b); (II) Establishing Procedures with Respect to Requests for Compensation; and

 (III) Granting Related Relief [Dkt. 1211] (together, the “Dismissal Order”);




 2
        The “Appellees” are the Official Committee of Talc Claimants; Paul Crouch; the Ad Hoc Group of
        Mesothelioma Claimants; mesothelioma claimants represented by Maune Raichle Hartley French & Mudd
        LLC; the States of New Mexico and Mississippi; claimants represented by Arnold & Itkin LLP; the Ad Hoc
        Committee of States Holding Consumer Protection Claims; claimants represented by The Barnes Law
        Group; and the Office of the United States Trustee for the District of New Jersey.
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                B.     all of the Appellants and the Appellees agreed in the Joint Certification

 that a circumstance specified in 28 U.S.C. § 158(d)(2) exists because the Dismissal Order

 involves a matter of public importance and an immediate appeal from the Dismissal Order may

 materially advance the progress of the case or proceeding in which the appeal is taken;

                C.     the Joint Certification was properly filed pursuant to 28 U.S.C.

 § 158(d)(2)(A);

                D.     the Court agrees with the Appellants and Appellees that the conditions of

 28 U.S.C. § 158(d)(2) have been met; more specifically, that the Dismissal Order involves a

 matter of public importance and an immediate appeal from the Dismissal Order may materially

 advance the progress of the case or proceeding in which the appeal is taken;

                E.     no papers were filed in opposition to the Joint Certification;

                F.     consistent with Rule 8006(c)(2) of the Federal Rules of Bankruptcy

 Procedure, the Court submits the following statement expressing its agreement that the Dismissal

 Order merits certification: During LTL’s first bankruptcy proceeding, the Court certified its

 order denying motions to dismiss the case because, among other reasons, direct appeal would

 materially advance the proceeding. See No. 21-30589, Dkt. 1926 (Bankr. D.N.J. Mar. 31, 2022).

 Given the extensive record and briefing produced during trial in that case, the Court found no

 need for “further development in the District Court” or that additional review by the District

 Court would add anything of value. Id. at 71. It therefore did not “serve any purpose” to engage

 in an “intermediate appeal.” Id. at 72. The Court also found that LTL’s case and the questions it

 implicated were publicly important. Id. at 74-75. The case drew significant attention, including
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 from journalists and policymakers; there were “billions upon billions of dollars” at stake and

 “thousands upon tens of thousands of potential claimants”; and the question that the dismissal

 order raised regarding restructuring in the face of mass-tort litigation went “beyond the litigants”

 and would impact other restructurings and potential restructurings. Id. The Court finds that the

 Dismissal Order at issue here merits certification for substantially the same reasons; and

                G.      just cause exists for the relief granted herein;

                IT IS THEREFORE HEREBY ORDERED THAT:

                1.      The Joint Certification is GRANTED.

                2.      Pursuant to 28 U.S.C. § 158(d)(2)(A) and Rule 8006 of the Federal Rules

 of Bankruptcy Procedure, the Dismissal Order is certified for direct appeal to the United States

 Court of Appeals for the Third Circuit.
